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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERCIA,              )     Case No.: 21-CR-1453-JLS
                                            )
12              Plaintiff,                  )     ORDER AND JUDGMENT
                                            )
13
          v.                                )     GRANTING UNITED STATES’
14                                          )     MOTION TO DISMISS THE
     JORGE VARGAS-MEDINA,                   )     INDICTMENT WITHOUT
15                                          )     PREJUDICE
                                            )
16                                          )
17              Defendant.                  )
                                            )
18
          The United States of America’s Motion to Dismiss the Indictment (ECF No. 15)
19
     without prejudice, is GRANTED. The Court dismisses the indictment against Jorge
20
     Vargas-Medina without prejudice.
21
           IT IS SO ORDERED.
22   Dated: September 30, 2021
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       ORDER GRANTING THE UNITED STATES’ MOTION TO DISMISS THE INDICTMENT WITHOUT
                                       PREJUDICE
